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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   REALTEK SEMICONDUCTOR
   CORPORATION,

           Plaintiff,                                 C.A. No. 24-1235-UNA

   v.

   AVAGO TECHNOLOGIES
   INTERNATIONAL SALES PTE. LTD,
   BROADCOM CORP., and BROADCOM
   INC.,

           Defendants.


 [PROPOSED] ORDER GRANTING-IN-PART PLAINTIFF’S MOTION TO REMAND
 THE CASE TO THE COURT OF CHANCERY OF THE STATE OF DELAWARE OR
    ALTERNATIVELY TO SET A SCHEDULE FOR AN ANTISUIT INJUNCTION

        Upon consideration of Plaintiff’s Motion to Remand the Case to the Court of Chancery of

 the State of Delaware or Alternatively to Set a Schedule for an Antisuit Injunction (“Motion”);

        IT IS HEREBY ORDERED that the Motion is GRANTED-IN-PART and the action is

 REMANDED to the Court of Chancery of the State of Delaware.

        IT IS HEREBY FURTHER ORDERED that following remand, the Clerk of Court shall

 promptly close this case.

        IT IS SO ORDERED this ___________ day of ________, 2024.




                                                  United States District Judge
